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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )
                                           )               Case No. 8:09CR3
                      Plaintiff,           )
                                           )
              vs.                          )               ORDER TO WITHDRAW
                                           )                   EXHIBITS
                                           )
ANTONIO FRAUSTO,                           )
                                           )
                      Defendant.           )


       Pursuant to NECivR 79.1(f) or NECrimR 55.1(g), counsel for parties are ordered to

withdraw the following exhibits previously submitted in this matter within 14 calendar days

of the date of this order:


              Defendants Exhibits 102 - 104 - Sentencing held 7/9/10



       If counsel fail to withdraw these exhibits as ordered, counsel will be ordered to show

cause why sanctions should not be imposed.

       IT IS SO ORDERED.

       DATED this 16th day of July , 2010.



                                           s/ Joseph F. Bataillon
                                           United States District Judge




                                   proc\Exhibits\Form-Order to Withdraw Appeal Time Pending.wpd
                                                                                 Approved 02/15/07
